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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA                    Crim. No. 3:19cr65(VLB)

          v.

 KAREEM SWINTON                              November 17, 2020


                 GOVERNMENT’S MOTION FOR FRYE HEARING

      On March 5, 2019, a federal grand jury returned an indictment against

defendant Swinton and his twelve co-defendants. Doc. 21. Swinton was charged

in one of the twelve counts with the following offense:

      Conspiracy to possess with intent to distribute, and to possess with
      intent to distribute, five kilograms or more of cocaine, and an
      unspecific amount of heroin, in violation of 21 U.S.C. §§ 841(a)(1),
      841(b)(1)(A), 841(b)(1)(C), and 846 (Count One).

Id.

      On March 18, 2020, the grand jury returned a superseding indictment

against the defendant and his remaining four co-defendants. The superseding

indictment added an enhancement provision for Swinton’s prior federal narcotics

conviction, increasing the statutory penalties from a 10 years mandatory

minimum term of imprisonment to a 15 years mandatory minimum term of

imprisonment, as well as increasing the supervised release terms and fine

provision. Doc. 348. On April 17, 2020, the Government filed a Notice pursuant to

21 U.S.C. § 851 notifying Swinton of the increased potential penalties. Doc. 361.

      On October 26, 2020, the Government sent Swinton’s counsel a plea offer.


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To date, Swinton has not accepted or rejected the offer. Jury selection in this

matter is presently scheduled for January 19, 2021. Doc. 435. The Government,

therefore, respectfully moves the Court to refer this motion to a United States

Magistrate Judge, for the purpose of conducting a hearing to canvas the

defendant and his counsel pursuant to Missouri v. Frye, 132 S. Ct. 1399 (2012).

      In Frye, the Supreme Court encouraged the use of procedures to guard

against later claims that counsel was ineffective for failing to advise a defendant

as to the existence of, and the terms contained in, a plea offer from the

Government. For example, the Court cited with favor a procedure encouraging

parties to “memorialize in some fashion prior to trial (1) the fact that a plea

bargain offer was made, and (2) that the defendant was advised of the offer [and]

its precise terms, ... and (3) the defendant's response to the plea bargain offer.”

Id. at 1408-1409 (internal citations and quotations omitted).

      Given Fed. R. Crim. P. 11(c)(1)’s requirement that “[t]he court must not

participate in [plea] discussions,” the Government respectfully recommends that

the Court make only the following inquiries of the defendant and his counsel:

 1)   That the defendant has seen the Superseding Indictment in this case and

  reviewed it with his lawyer;

 2)   That the defendant understands he is charged in Count One of the

  Superseding indictment with conspiracy to distribute and possess with the

  intent to distribute 5 kilograms or more of cocaine in violation of 21 U.S.C.

  §§ 846, 841(a)(1) and 841(b)(1)(A);


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3)   That the defendant understands that Count One of the Superseding

Indictment carries a maximum term of life in prison as well as a mandatory

minimum term of 10 years imprisonment, which becomes a mandatory

minimum term of 15 years imprisonment based on the defendant’s prior

conviction for a serious drug felony;

4)   That the defendant and his counsel have seen the Government’s plea offer

dated October 26, 2020;

5)   That the defendant has reviewed the October 26, 2020 plea offer with his

lawyer and understands the terms of the plea offer;

6)   That the defendant understands the evidence the Government will present

if this matter proceeds to trial; and




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7)   That the defendant rejects the plea offer.



                                     Respectfully submitted,

                                     JOHN H. DURHAM
                                     UNITED STATES ATTORNEY

                                            /s/

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                                     ASSISTANT U.S. ATTORNEY
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                             CERTIFICATE OF SERVICE


       I hereby certify that on November 17, 2020, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through
the Court’s CM/ECF System.


                                        /s/

                                        NATASHA M. FREISMUTH
                                        ASSISTANT U.S. ATTORNEY




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